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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 SAM RISE, et al.,

        Plaintiffs,

        v.                                            Civil Action No. 1:24-cv-02388-RCL

 JASON BAGSHAW, et al.,

        Defendants.


                       DISTRICT DEFENDANTS’ MOTION
                 TO STAY DEADLINE TO RESPOND TO AMENDED
             COMPLAINT, OR IN THE ALTERNATIVE, FOR EXTENSION
              OF TIME TO RESPOND TO THE AMENDED COMPLAINT

       Defendants District of Columbia (the District), Jason Bagshaw, Kristine Alemania,

Gregory Alemian, David Augustine, Collin Cole, David Collins, Anthony Delborrell, James

Dennings, Frantz Fulcher, Matthew Guo, Justus Hsu, Gregory Jackson, Christopher John,

Lansana Kamara, Mahmoud Kessba, Alec Kurz, Christopher Miller, Michael Muzzey, Mark

Namdar, Robert Parker, David Randolph, Abanoub Rezkalla, Dany Rivera-Euceda, Jean Laurin

Samedi, Jeffrey Sipes, Brian Sullivan, Dylan D'amore, Andre M. Davis, Mina Faragalla, Blake

Johnson, Cedrick Pierre, Jose Santiago, Khiorie Stewart, Leslie Parsons, and Rebeca Villatoro

(collectively, the District Defendants) move under Rule 6(b)(1)(A) and this Court’s inherent

docket-management authority to stay their deadline to respond to Plaintiffs’ Amended Complaint

[19]. The District Defendants’ current deadline to respond to the Amended Complaint is January

21, 2025. In the alternative, the District Defendants seek to extend their time to respond to the

Amended Complaint until February 11, 2025.
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        The Amended Complaint asserts claims against 46 current or former MPD officers but

does not include specific allegations against any officer. The Parties had been attempting to

reach an agreement pursuant to which the District would provide Plaintiffs with body-worn

camera footage (BWC) from the night in question so that Plaintiffs could amend their complaint

to omit defendants who are not implicated by Plaintiffs’ allegations. However, because Plaintiffs

would not agree to treat the BWC as confidential, the Parties were unable to reach an agreement.

During those negotiations, Plaintiffs filed a motion seeking discovery from third-party United

States Capital Police [27]. Plaintiffs are pursuing that discovery so that they can amend their

complaint a second time. That motion remains pending. Further, on December 26, 2024, the

United States filed a Westfall certification, substituting itself as the defendant in place of all

federal officers who had been named as defendants [30]. To the District Defendants’ knowledge,

Plaintiffs had not served any federal officer defendant with the Amended Complaint prior to

December 26, 2024, and have not served the United States since then. At least, no affidavit of

service appears on the docket. Therefore, the United States does not currently have a deadline to

respond to the Amended Complaint.

        As it stands, the District Defendants would have to move to dismiss a complaint that the

Plaintiffs are actively seeking to amend. The District Defendants do not believe that that is an

efficient or reasonable way to proceed. Instead, the District Defendants’ position is that this case

should proceed on a single track with all defendants having the same responsive pleading

deadline, which cannot happen until Plaintiffs’ motion for discovery is resolved, Plaintiffs file

(or not) a second amended complaint, and all defendants, whether named now or in a second

amended complaint, are served. Even then, the United States—and any future-named individual

federal defendants—would have 60 days to answer or otherwise respond. Accordingly, the



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District Defendants request that the Court stay their deadline to respond to the Amended

Complaint and propose that the Parties submit a joint status report within seven days after the

Court’s resolution of Plaintiffs’ pending motion for discovery with a proposed briefing schedule.

In the alternative, because the District Defendants have been attempting to reach an agreement

with Plaintiffs that would obviate their current January 21, 2025 deadline but were unable to

reach an agreement, the District Defendants request that the Court extend their deadline to

respond to the Amended Complaint until February 11, 2025. An extension of the current

deadline is also warranted because, while the Office of the Attorney General (OAG) has

arranged to represent 35 of the 46 individual defendants, it is still attempting to determine

whether it will represent the remaining individuals.

       The granting of a stay is within the Court’s “broad discretion” to manage its docket “with

economy of time and effort for itself, for counsel, and for litigants.” Dellinger v. Mitchell, 442

F.2d 782, 790 n.7 (D.C. Cir. 1971) (quoting Landis v. N. Am. Co., 299 U.S. 248, 254 (1936)).

Extensions of existing deadlines can be granted on a showing of good cause. Fed. R. Civ. P.

6(b)(1)(A). The District Defendants submit that the interests of efficiency and economy clearly

favor a brief stay of their responsive pleading deadline, for the reasons set forth above. If the

Court disagrees, good cause still justifies another brief extension of the existing deadline to allow

counsel to secure representation agreements and prepare a single responsive pleading on behalf

of all defendants that OAG will represent.

       Counsel for the District Defendants has satisfied the conferral requirements of Local Rule

7(m). On Thursday, January 16, 2025, at 9:38 a.m., counsel for the District Defendants

contacted counsel for Plaintiffs, seeking their position on the motion. After receiving a response

from opposing counsel that did not provide a position, counsel for the District Defendants



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reiterated the request at 4:51 p.m. that same day. Counsel for Plaintiffs responded on Friday,

January 17, 2025, but again did not provide a position. Counsel for the District requested that

Plaintiffs take a position no later than 3 p.m. on January 17. As of this filing, at approximately 4

p.m., counsel for Plaintiffs have still failed to take a position on the present motion. This is the

District Defendants’ first motion to stay, and if applicable, it is their third motion to extend.

Pursuant to Local Rule 7(a), this motion includes all supporting points of law and authority. A

proposed order follows, as required by Local Rule 7(c).

Date: January 17, 2025.                            Respectfully Submitted,

                                                   BRIAN L. SCHWALB
                                                   Attorney General for the District of Columbia

                                                   STEPHANIE E. LITOS
                                                   Deputy Attorney General
                                                   Civil Litigation Division

                                                   /s/ Matthew R. Blecher
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                                                   Chief, Civil Litigation Division, Equity Section

                                                   /s/ Honey Morton
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                                                   Assistant Chief, Equity Section

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